           Case 3:24-cv-00446-BAJ-RLB                      Document 1-4             06/05/24     Page 1 of 1




                               UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF LOUISIANA



    Military-Veterans Advocacy, Inc. et. al
   Plaintiff
   v.
                                                                            Civil Action No.
    Jeff Landry et. al
   Defendant

                                   CERTIFICATE OF INTERESTED PERSONS


   Pursuant to Local Civil Rule 7.1,
    Plaintiffs Law Office of John B. Wells and Military-Veterans Advocacy



    provides the following information:
            A complete list of all persons, associations of persons, firms, partnerships, corporations,
    guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
    financially interested in the outcome of the case:
    *Please separate names with a comma and do not add address information. Only text visible
    within box will print.
    Hon. Jeff Landry, Governor of Louisiana, Hon. Liz Murrill Attorney General of Louisiana, Hon.
    Charlton McGenley, Secretary of Veterans Affairs f Louisiana, Hon. Denis McDonough
    Secretary f Veterans Affairs of the United States, John B. Wells Esq, Brian K Lewis Esq.,
    Robert McMillin Esq., Law Office of John B. Wells, Military-Veterans Advocacy




                                                                            John B. Wells LA Bar 23970
                                                                            Attorney Name and Bar Number

NOTE: To electronically file this document, you will find the event in our Case Management (CM/ECF) system, under Civil =>
Notices => Certificate of Interested Persons.
